      Case 3:21-cv-00108-JWD-SDJ          Document 35-1   11/18/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF LOUISIANA

Joel Giroir, on behalf of themselves        No. 3:21-cv-108-JWD-SDJ
and all similarly situated individuals,
                                            Hon. John W. deGravelles,
      Plaintiffs,                           District Judge

v.
                                            Hon. Scott D. Johnson,
James LeBlanc,                              Magistrate Judge

      Defendant.


                                 [Proposed] Order

      The Court hereby grants Plaintiffs’ Motion to Withdraw.



Dated: _________________                       _______________________________
                                               United States District Court Judge
